206 F.3d 1054 (11th Cir. 2000)
    Gregory SOLOMON, Patricia Beckwith, et al., on behalf of themselves and all others similarly situated, Plaintiffs-Appellants,v.LIBERTY COUNTY COMMISSIONERS, Liberty County School Board, et al., Defendants-Appellees.
    No. 97-2540.
    United States Court of Appeals,Eleventh Circuit.
    March 14, 2000.
    
      Appeal from the United States District Court for the Northern District of Florida.
      (Opinion Feb. 3, 1999, 166 F.3d 1135, 11th Cir., 1999).
      Before ANDERSON, Chief Judge, and TJOFLAT, EDMONDSON, COX, BIRCH, DUBINA, BLACK, CARNES, BARKETT, HULL, MARCUS and WILSON, Circuit Judges.
    
    BY THE COURT:
    
      1
      A member of this court in active service having requested a poll on the suggestions of rehearing en banc and a majority of the judges in this court in active service having voted in favor of granting a rehearing en banc,IT IS ORDERED that the above cause shall be reheard by this court en banc.  The previous panel's opinion is hereby VACATED.
    
    